W.H. GRIFFIN, TRUSTEE                                                 Case #: 22-20509-13
5115 ROE BLVD
SUITE 200
ROELAND PARK, KS 66205-2393

                           IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF KANSAS

                        TRUSTEE'S REPORT OF RECEIPTS AND DISBURSEMENTS
                                     Chapter 13 Case #: 22-20509-13
                                      Date of Filing: June 07, 2022


Amber R Sturgeon                                                           IN RE:
314 Creekside Ct                                                                    Amber R Sturgeon
Gardner, KS 66030
                                                                                                              Debtor

                                                    RECEIPTS
                                    For the Period from 1/1/2022 through 1/9/2023
Date        Amount       Date        Amount         Date         Amount             Date          Amount
7/20/22     $230.00      8/2/22     $230.00         8/16/22      $230.00            9/2/22       $230.00

Date        Amount       Date        Amount         Date         Amount             Date          Amount
9/28/22     $230.00      10/4/22     $230.00        10/18/22      $230.00           11/3/22       $230.00

Date        Amount       Date        Amount         Date         Amount             Date          Amount
11/17/22     $230.00     12/2/22     $230.00        12/20/22      $230.00           1/4/23       $230.00


                                   CLAIMS AND DISTRIBUTIONS TO DATE
Claim # Claimant Name             Type                   Allowed Percent to Principal           Interest   Interest     Principal
                                                          Claim   be Paid     Paid                Rate       Paid       Balance
0         CLERK OF THE BANKRUPT    FILING FEE               $313.00    100.00         $313.00       0.00        $0.00        $0.00
0         Amber R Sturgeon         DEBTOR REFUND              $0.00      0.00           $0.00       0.00        $0.00        $0.00
0         WM LAW                   ATTORNEY FEE           $3,600.00    100.00         $955.71       0.00        $0.00    $2,644.29
1         US Department of HUD     UNSECURED             $20,858.97      0.00           $0.00       0.00        $0.00        $0.00
2         AUTO NOW                 SECURED-910 CAR       $12,462.51    100.00         $635.87       5.50      $388.23   $11,826.64
3         US DEPARTMENT OF EDUC    SPCL CLASS-UNSECUR    $20,772.22     13.12           $0.00       0.00        $0.00    $2,724.90
4         CENTURYLINK COMMUNI      UNSECURED                $190.50      0.00           $0.00       0.00        $0.00        $0.00
5         QUANTUM3 GROUP LLC       UNSECURED                $759.36      0.00           $0.00       0.00        $0.00        $0.00
6         KANSAS DEPARTMENT OF     PRIORITY ESTIMATED     $1,025.00    100.00           $0.00       0.00        $0.00    $1,025.00
7         LVNV FUNDING             UNSECURED                $451.49      0.00           $0.00       0.00        $0.00        $0.00
8         WEINSTEIN AND RILEY      UNSECURED              $2,982.05      0.00           $0.00       0.00        $0.00        $0.00
9         NPRTO MID-WEST, LLC      OTHER SECURED          $1,000.00    100.00          $25.82       5.50       $31.97      $974.18
10        ASHLEY FUNDING SERVIC    UNSECURED                 $57.36      0.00           $0.00       0.00        $0.00        $0.00
11        ASHLEY FUNDING SERVIC    UNSECURED                 $26.60      0.00           $0.00       0.00        $0.00        $0.00
1006      KANSAS DEPARTMENT OF     UNSECURED                 $50.00      0.00           $0.00       0.00        $0.00        $0.00
12        JD RECEIVABLES LLC       UNSECURED              $1,784.77      0.00           $0.00       0.00        $0.00        $0.00
13        NATIONAL CREDIT ADJUS    UNSECURED                $230.00      0.00           $0.00       0.00        $0.00        $0.00
14        ADVANCE AMERICA          UNSECURED              $2,858.73      0.00           $0.00       0.00        $0.00        $0.00
10009     NPRTO MID-WEST, LLC      UNSECURED              $3,943.28      0.00           $0.00       0.00        $0.00        $0.00




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                                                    SUMMARY

Summary of all receipts and disbursements from the date the case was filed, to and including: 1/16/2023

Receipts: $2,760.00 Paid To Claims: $2,350.60 Trustee's Fees Paid: $197.79 Funds On Hand: $211.61

**NOTE:ALL CASES MUST RUN AT LEAST 36 MONTHS UNLESS ALL ALLOWED CLAIMS ARE PAID 100 %. DO NOT
PAY OFF YOUR PLAN EARLY WITHOUT CONSULTING WITH YOUR ATTORNEY AND THE TRUSTEE . THE PRINCIPAL
BALANCE DOES NOT REPRESENT THE PAYOFF AMOUNT FOR YOUR CASE. THIS IS ONLY A CURRENT BALANCE
AND DOES NOT INCLUDE ANY FUTURE ACCRUED INTEREST ON CLAIMS




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